UNITED STATES DISTRICT COURT
THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: DAVOL, INC./C.R. BARD, Case No. 2:18-md-2846
INC., POLYPROPYLENE HERNIA

MESH PRODUCTS LIABILITY
LITIGATION CHIEF JUDGE EDMUND A. SARGUS

Magistrate Judge Kimberly A. Jolson

This document relates to:
ALL ACTIONS.

CASE MANAGEMENT ORDER NO. 2-B

Amendment to Procedures for Direct Filing and Pro Hac Vice Admission

This matter is before the Court for clarification of direct filing and pro hac vice procedures
in MDL No, 2846, The Court previously addressed these procedures in Case Management Order
No. 2 (ECF No. 11). This Court ORDERS that the following provisions shall apply henceforth.

A. Direct Filing

Counsel is DIRECTED to file each new case individually, in accordance with the standard
filing procedures of this Court. Accordingly, each new case will be given its own unique “CV”
number for purposes of future identification. When filing a new case, Counsel is DIRECTED to
follow all online prompts and indicate that the case is related to MDL No. 2846. Counsel will be
prompted to pay the required filing fee at the time of filing the complaint.

Any questions regarding the filing process should be directed to Eduardo Rivera at 614-

719-3015, or by email at Eduardo_rivera@ohsd.uscourts.gov.
B. Pro Hac Vice

In cases filed in this Court because of their MDL status, only Counsel who actively practice
before this Court in Bellwether trials, discovery, motion practice, or other appearances are required
to pay the requisite fee to appear pro hac vice. Actively participating Counsel are not required to
file a motion to appear pro hac vice. Rather, they are DIRECTED to remit the requisite fee to the
Clerk’s Office via check. The check must cite the case number of the first case the attorney filed
in this MDL. The check may be addressed to:

Office of the Clerk

Joseph P. Kinneary U.S. Courthouse

Room 121

85 Marconi Boulevard

Columbus, Ohio 43215

IT IS SO ORDERED.

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DATE EDM SARGUS, IR.

CHIE ITED STATES DISTRICT JUDGE

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DATE KIMBERLY A, JO
UNITED STATE AGISTRATE JUDGE

 

 
